                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


  STANTEC CONSULTING SERVICES INC. v. QUANTA POWER GENERATION,
                                      INC.

LESLEY K. ALLEN, DISTRICT COURT EXECUTIVE/CLERK OF COURT

DEPUTY CLERK                                             CASE NO. 3:16-cv-00163-TMB

Suzannette David-Waters


PROCEEDINGS: CLERK'S NOTICE                                    DATE: September 6, 2016



               In light of the Order of Consolidation at docket 23 in case 3:16-cv-00162-
SLG, the above referenced case is hereby reassigned to the Honorable Sharon L.
Gleason.
               Any reference to the above referenced case shall contain the following
case number: 3:16-cv-00163-SLG.




[CLERKNOT-rev. 9-10-15]
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